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                  EXHIBIT I
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OPTN/UNOS Policy Notice
Enhancing Liver Distribution
Sponsoring Committee:                     Liver and Intestinal Organ Transplantation
Policy/Bylaws Affected:                   Policies 1.2 (Definitions), 5.4.B (Order of
                                          Allocation), 9.1.D (MELD 1 Score), 9.8 (Liver
                                          Allocation, Classifications, and Rankings), and
                                          9.11 (Variances)
Public Comment:                           July 31, 2017 – October 2, 2017
Effective Date:                           Upon implementation and notice to members

                                       Problem Statement
The OPTN Final Rule stipulates that OPTN allocation policies must, among other factors, be based on
sound medical judgment, seek to achieve the best use of donated organs, and should not be based on
the candidate's place of residence or place of listing, except to the extent needed to satisfy other
regulatory requirements. Livers are allocated to candidates based on their MELD or PELD score. The
Liver and Intestinal Organ Transplantation Committee has observed, and research supports, that there is
significant variation in the MELD or PELD score at transplant, depending on where the candidate was
listed.
Regional and donation service area (DSA) boundaries determine current liver distribution. . This leads to
a situation where a medically urgent candidate, who may be in close proximity of the donor, but outside of
the defined region, has limited access to the donor organ.

                                     Summary of Changes

This proposal contains the following Policy changes:
1. The introduction of a 150-nautical mile radius proximity circle around the donor hospital. Circles may
   extend outside of the region and are used within the allocation classifications for liver and liver-
   intestine allocation.
2. Adult candidates who have a calculated MELD score of 32 or higher, as well as pediatric candidates
   younger than age 18 with a MELD or PELD score of 32 or higher, will be prioritized for organ offers.
3. Before the match run, liver candidates with a MELD or PELD of at least 15, and who are either within
   the same DSA as a liver donor or are within 150 nautical miles of the donor hospital but in a different
   DSA, will receive additional transplant priority (equivalent to 3 MELD or PELD points).
4. Livers from deceased donors who are 70 or older, or Donation after Cardiac Death (DCD) donors, will
   be in a separate allocation that gives priority to candidates in the DSA after allocating to Status 1
   candidates in the region or circle.
For the purpose of calculating this additional transplant priority, MELD will not be capped at 40. For
example, an adult candidate with a calculated MELD (also known as the lab MELD) of 38 will receive a
score of 41 for offers within the DSA or circle; one with a calculated MELD of 40 will receive a score of 43
for DSA or circle organ offers.
Current Policy provides adult candidates with early hepatic artery thrombosis a standard MELD exception
score of 40, unless they meet specific additional criteria that make them eligible for status 1A. Within this
proposal, these candidates are the only ones who will receive immediate prioritization within the region
and circle based on an exception score as opposed to a calculated score. They will retain their exception
score of 40 for this purpose.
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                                  What Members Need to Do
Transplant Hospitals:
You need to prepare for the potential additional cost and coordination of transportation. Your program
may be interacting with OPOs and donor hospitals outside of your DSA and region more frequently than
you do under the current system.
OPOs:
You need to prepare for any additional cost and coordination of transportation. Your organization may be
interacting with transplant programs outside of your DSA and region more frequently than you do under
the current system.

                                  Affected Policy Language:
Proposed new language is underlined (example) and language that is proposed for removal is struck
through (example).

1.2 Definitions
Allocation MELD or PELD Score
The highest exception or calculated MELD or PELD score available to the candidate according to Policy.
Calculated MELD or PELD Score
The highest non-exception MELD or PELD score available to the candidate according to Policy.
Circle
A geographic area used in the allocation of certain organs. For the allocation of deceased donor livers or
liver-intestines, a circle is a 150 nautical mile radius around the donor hospital.
Match MELD or PELD Score
The MELD or PELD score available to the candidate at the time of the match for a deceased donor liver
or liver-intestine.

Geographical Area
A physical area used to group potential transplant recipients in a classification. OPTN Policy uses the
following geographical areas for organ allocation: circle, DSA, region, nation, and zones.
         5.4.B       Order of Allocation
         The process to allocate deceased donor organs occurs with these steps:
         1. The match system eliminates candidates who cannot accept the deceased donor based on
            size or blood type.
         2. The match system ranks candidates according to the allocation sequences in the organ
            allocation policies.
         3. OPOs must first offer organs to potential recipients in the order that the potential recipients
            appear on a match run.
         4. If no transplant program on the initial match run accepts the organ, the host OPO may give
            transplant programs the opportunity to update their candidates’ data with the OPTN
            Contractor. The host OPO must re-execute the match run to allocate the organ.
         5. If no transplant program within the DSA or through an approved regional sharing
            arrangement accepts the organ, the Organ Center will allocate an abdominal organ first
            regionally and then nationally, according to allocation Policies. The Organ Center will allocate
            thoracic organs according to Policy 6: Allocation of Hearts and Heart-Lungs and Policy 10:
            Allocation of Lungs the organ according to Policy.




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         6. Members may export deceased donor organs to hospitals in foreign countries only after
            offering these organs to all potential recipients on the match run. Members must submit the
            Organ Export Verification Form to the OPTN Contractor prior to exporting deceased donor
            organs.

         This policy does not apply to VCA transplants; instead, members must allocate VCAs according
         to Policy 12.2: VCA Allocation.

         9.1.D       MELD Score
         Candidates who are at least 12 years old receive an initial MELD (i) score equal to: 0.957 x
         Loge(creatinine mg/dL) + 0. 378 x Loge(bilirubin mg/dL) + 1.120 x Loge (INR) + 0.643

         Laboratory values less than 1.0 will be set to 1.0 when calculating a candidate’s MELD score.

         The following candidates will receive a creatinine value of 4.0 mg/dL:

             Candidates with a creatinine value greater than 4.0 mg/dL
             Candidates who received two or more dialysis treatments within the prior 7 days
             Candidates who received 24 hours of continuous veno-venous hemodialysis (CVVHD) within
              the prior 7 days

         The maximum MELD score is 40. The MELD score derived from this calculation will be rounded
         to the tenth decimal place and then multiplied by 10. At the time of allocation, the MELD score
         may go above 40 with the inclusion of proximity points to a candidate within the circle or OPO’s
         DSA.

         For candidates with an initial MELD score greater than 11, the MELD score is then re-calculated
         as follows:

         MELD = MELD(i) + 1.32*(137-Na) – [0.033*MELD(i)*(137-Na)]

         Sodium values less than 125 mmol/L will be set to 125, and values greater than 137 mmol/L will
         be set to 137.

         If a candidate’s recalculated MELD score requires recertification within 7 days of implementation
         based on Table 9-1: Liver Status Update Schedule, the transplant hospital will have 7 days to
         update laboratory values. If after 7 days the laboratory values are not updated, the candidate will
         be re-assigned to the previous lower MELD score.

9.8 Liver Allocation, Classifications, and Rankings
Livers from pediatric deceased donors are first allocated to pediatric potential transplant recipients with
respect to geographical proximity to donor and medical urgency, according to Tables 9-7 and 9-8.
Unless otherwise stated, all mentions of MELD or PELD in this section reference a candidate’s match
MELD or PELD score.
         9.8.B       Allocation of Livers for Other Methods of Hepatic Support
         A liver must be offered first for transplantation according to the match run before it is offered for
         use in other methods of hepatic support. If the liver is not accepted for transplant within 6 hours of
         attempted allocation by the OPTN Contractor, the OPTN Contractor will offer the liver for other
         methods of hepatic support, according to Tables 9-4, 9-5, 9-6, 9-7, 9-8, and 9-9 below to status
         1A and 1B candidates, followed by all candidates in order of their MELD or PELD scores. Livers




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         allocated for other methods of hepatic support will be offered first locally, then regionally, and
         then nationally in descending point order.

         9.8.C         Allocation of Livers by Blood Type
         Livers from blood type O deceased donors may be offered to any of the following:
             Status 1A and 1B candidates.
             Blood type O candidates.
             Blood type B candidates with a MELD or PELD score ≥ greater than or equal to 30.
             Any remaining blood type compatible candidates once the blood type O and B candidates on
              the match run have been exhausted at the regional plus circle, and national level.

         For status 1A or 1B candidates or candidates with an allocation MELD or PELD score ≥ greater
         than or equal to 30, transplant hospitals may specify on the waiting list if those candidates will
         accept a liver from a deceased donor of any blood type. Candidates are given points depending
         on their blood type according to Policy 9.7.B: Points Assigned by Blood Type.

         9.8.D         MELD or PELD Points for Geographic Proximity to the Donor
                       Hospital
         At the time of the match run, a liver or liver-intestine candidate with a MELD or PELD score
         registered at a transplant hospital within the circle or OPO’s DSA receives proximity points
         according to Table 9-3 below.

                                               Table 9-3: Proximity Points
             Candidates that are:             And have :                       Will receive:
             At least 18 years old at the     A calculated MELD score of       Three proximity points to
             time of registration on the      at least 15                      their calculated MELD score
             waiting list
             At least 18 years old at the     An approved HAT exception        Three proximity points to
             time of registration on the                                       their allocation MELD score
             waiting list
             12 to 17 years old at the time   An allocation MELD score of      Three proximity points to
             of registration on the waiting   at least 15                      their allocation MELD score
             list
             Less than 12 years old at the    An allocation PELD score of      Three proximity points to
             time of registration on the      at least 15                      their allocation PELD score
             waiting list

         9.8.DE        Sorting Within Each Classification
         Within each status 1A allocation classification, candidates are sorted in the following order:
         1. Total points, highest to lowest (waiting time points, plus blood type compatibility points) Total
            waiting time and blood type compatibility points (highest to lowest), according to Policy 9.7:
            Liver Allocation Points
         2. Total waiting time at status 1A (highest to lowest)

         Within each status 1B allocation classification, candidates are sorted in the following order:

         1. Total points (highest to lowest) Total waiting time and blood type compatibility points (highest
            to lowest), according to Policy 9.7: Liver Allocation Points



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         2. Total waiting time at status 1B (highest to lowest)

         Within each allocation MELD or PELD score allocation classification, candidates with a score ≤
         six a MELD or PELD less than or equal to 6 are sorted in the following order:


         1. Identical blood types, compatible blood types, then incompatible blood types
         2. Total waiting time (highest to lowest)
         3. Then those waiting list positions assigned to candidates with a MELD or PELD score ≤ are
            redistributed between the pediatric candidates, according to their PELD or MELD score
            (highest to lowest).

         1. First, all candidates are sorted in the following order:
            a. Identical blood types, compatible blood types, then incompatible blood types
            b. Waiting time at the current or higher allocation MELD or allocation PELD score (highest
                to lowest)
            c. Total waiting time (highest to lowest)
         2. Then those waiting list positions assigned to candidates with a MELD or PELD score less
            than or equal to six are redistributed between the pediatric candidates, according to their
            PELD or MELD score (highest to lowest).

         Within each allocation classification, all other candidates are sorted in the following order:

         2. MELD or /PELD score (highest to lowest)
         3. Identical blood types, compatible blood types, then incompatible blood types
         4. Waiting time at the current or higher MELD or PELD score, excluding proximity points
            (highest to lowest)
         5. Total waiting time (highest to lowest).

         9.8.EF        Allocation of Livers from Non-DCD Deceased Donors at Least 18
                       Years Old and Less than 70 years old
         Livers from non-DCD deceased donors at least 18 years old and less than 70 years old are
         allocated to candidates according to Table 9-34 below.

           Table 9-34: Allocation of Livers from Non-DCD Deceased Donors at Least 18 Years Old and Less
                                                   than 70 Years Old
           Classification Candidates that are              And are:
                          within the:
                   1           OPO’s region                Adult or pediatric status 1A
                   2           OPO’s region                Pediatric status 1B
                   3           OPO’s DSA                   MELD/PELD of 40
                   4           OPO’s region                MELD/PELD of 40
                   5           OPO’s DSA                   MELD/PELD of 39
                   6           OPO’s region                MELD/PELD of 39
                   7           OPO’s DSA                   MELD/PELD of 38
                   8           OPO’s region                MELD/PELD of 38
                   9           OPO’s DSA                   MELD/PELD of 37
                  10           OPO’s region                MELD/PELD of 37




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          Classification Candidates that are   And are:
                         within the:
                11        OPO’s DSA            MELD/PELD of 36
                12        OPO’s region         MELD/PELD of 36
                13        OPO’s DSA            MELD/PELD of 35
                14        OPO’s region         MELD/PELD of 35
                15        OPO’s DSA            MELD/PELD of at least 15
                16        OPO’s region         MELD/PELD of at least 15
                17        Nation               Adult or Pediatric status 1A
                18        Nation               Pediatric status 1B
                19        Nation               MELD/PELD of at least 15
                20        OPO’s DSA            MELD/PELD less than 15
                21        OPO’s region         MELD/PELD less than 15
                22        Nation               MELD/PELD less than 15
                                               MELD/PELD at least 40 and compatible blood
                23        OPO’s DSA
                                               type
                                               MELD/PELD at least 40 and compatible blood
                24        OPO’s region
                                               type
                25        OPO’s DSA            MELD/PELD of 39 and compatible blood type
                26        OPO’s region         MELD/PELD of 39 and compatible blood type
                27        OPO’s DSA            MELD/PELD of 38 and compatible blood type
                28        OPO’s region         MELD/PELD of 38 and compatible blood type
                29        OPO’s DSA            MELD/PELD of 37 and compatible blood type
                30        OPO’s region         MELD/PELD of 37 and compatible blood type
                31        OPO’s DSA            MELD/PELD of 36 and compatible blood type
                32        OPO’s region         MELD/PELD of 36 and compatible blood type
                33        OPO’s DSA            MELD/PELD of 35 and compatible blood type
                34        OPO’s region         MELD/PELD of 35 and compatible blood type
                                               MELD/PELD of at least 15 and compatible blood
                35        OPO’s DSA
                                               type
                                               MELD/PELD of at least 15 and compatible blood
                36        OPO’s region
                                               type
                                               MELD/PELD of at least 15 and compatible blood
                37        Nation
                                               type
                                               MELD/PELD less than 15 and compatible blood
                38        OPO’s DSA
                                               type
                                               MELD/PELD less than 15 and compatible blood
                39        OPO’s region
                                               type
                                               MELD/PELD less than 15 and compatible blood
                40        Nation
                                               type
                                               Adult or pediatric status 1A and in need of other
                41        OPO’s DSA
                                               method of hepatic support




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          Classification Candidates that are   And are:
                         within the:
                                               Pediatric status 1B and in need of other method
                42        OPO’s DSA
                                               of hepatic support
                                               Any MELD/PELD and in need of other method of
                43        OPO’s DSA
                                               hepatic support
                                               Adult or pediatric status 1A and in need of other
                44        OPO’s region
                                               method of hepatic support
                                               Pediatric status 1B and in need of other method
                45        OPO’s region
                                               of hepatic support
                                               Any MELD/PELD and in need of other method of
                46        OPO’s region
                                               hepatic support
                                               Adult or pediatric status 1A and in need of other
                47        Nation
                                               method of hepatic support
                                               Pediatric status 1B and in need of other method
                48        Nation
                                               of hepatic support
                                               Any MELD/PELD and in need of other method of
                49           Nation
                                               hepatic support
                                               Any MELD/PELD in need of other method of
                50        OPO’s DSA            hepatic support, and a blood type compatible
                                               with the donor
                                               Any MELD/PELD in need of other method of
                51        OPO’s region         hepatic support, and blood type compatible with
                                               the donor
                                               Any MELD/PELD in need of other method of
                52        Nation               hepatic support, and blood type compatible with
                                               the donor


          Classification Candidates that are    And are:
                         within the OPO’s:
                 1        Region or Circle      Adult or pediatric status 1A
                 2        Region or Circle      Pediatric status 1B
                                                Any of the following:
                                                 At least 18 years old at time of registration
                                                 and calculated MELD of at least 32 including
                                                 proximity points
                 3        Region or Circle       At least 18 years old at time of registration
                                                 and has an approved HAT exception
                                                 Less than 18 years old at time of registration
                                                 and allocation MELD or PELD of at least 32
                                                 including proximity points
                 4        DSA                   MELD or PELD of at least 15
                 5        Region or Circle      MELD or PELD of at least 15
                 6        Nation                Adult or pediatric status 1A
                 7        Nation                Pediatric status 1B
                 8        Nation                MELD or PELD of at least 15




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          Classification Candidates that are   And are:
                         within the OPO’s:
                 9        DSA                  MELD or PELD less than 15
                 10       Region or Circle     MELD or PELD less than 15
                 11       Nation               MELD or PELD less than 15
                                               MELD or PELD of at least 32, blood type
                 12       Region or Circle
                                               compatible
                                               MELD or PELD of at least 15, blood type
                 13       DSA
                                               compatible
                                               MELD or PELD of at least 15, blood type
                 14       Region or Circle
                                               compatible
                                               MELD or PELD of at least 15, blood type
                 15       Nation
                                               compatible
                                               MELD or PELD less than 15, blood type
                 16       DSA
                                               compatible
                                               MELD or PELD less than 15, blood type
                 17       Region or Circle
                                               compatible
                                               MELD or PELD less than 15, blood type
                 18       Nation
                                               compatible
                                               Adult or pediatric status 1A, and in need of
                 19       DSA
                                               other method of hepatic support
                                               Pediatric status 1B and in need of other
                 20       DSA
                                               method of hepatic support
                                               Any MELD or PELD, and in need of other
                 21       DSA
                                               method of hepatic support
                                               Adult or pediatric status 1A, and in need of
                 22       Region or Circle
                                               other method of hepatic support
                                               Pediatric status 1B and in need of other
                 23       Region or Circle
                                               method of hepatic support
                                               Any MELD or PELD, and in need of other
                 24       Region or Circle
                                               method of hepatic support
                                               Adult or pediatric status 1A, and in need of
                 25       Nation
                                               other method of hepatic support
                                               Pediatric status 1B and in need of other
                 26       Nation
                                               method of hepatic support
                                               Any MELD or PELD, and in need of other
                 27       Nation
                                               method of hepatic support
                                               Any MELD or PELD, and in need of other
                 28       DSA                  method of hepatic support, blood type
                                               compatible
                                               Any MELD or PELD, and in need of other
                 29       Region or Circle     method of hepatic support, blood type
                                               compatible
                                               Any MELD or PELD, and in need of other
                 30       Nation               method of hepatic support, blood type
                                               compatible




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         9.8.FG        Allocation of Livers from Non-DCD Deceased Donors 11 to 17
                       Years Old
         Livers from non-DCD deceased donors 11 to 17 years old are allocated to candidates according
         to Table 9-45 below.

             Table 9-45: Allocation of Livers from Non-DCD Deceased Donors 11 to 17 Years Old
          Classification           Candidates that         And are:
                                are within the:
                   1                OPO’s DSA              Pediatric status 1A
                   2                OPO’s region           Pediatric status 1A
                   3                OPO’s DSA              Adult status 1A
                   4                OPO’s region           Adult status 1A
                   5                OPO’s DSA              Pediatric status 1B
                   6                OPO’s region           Pediatric status 1B
                                    OPO’s DSA or
                   7                                       Any PELD
                                region
                   8                OPO’s DSA              MELD of at least 15 and 12 to 17 years old
                   9                OPO’s DSA              MELD of at least 15 and at least 18 years old
                  10                OPO’s region           MELD of at least 15 and 12 to 17 years old
                  11                OPO’s region           MELD of at least 15 and at least 18 years old
                  12                OPO’s DSA              MELD less than 15 and 12 to 17 years old
                  13                OPO’s DSA              MELD less than 15 and at least 18 years old
                  14                OPO’s region           MELD less than 15 and 12 to 17 years old
                  15                OPO’s region           MELD less than 15 and at least 18 years old
                  16                Nation                 Pediatric status 1A
                  17                Nation                 Adult status 1A
                  18                Nation                 Pediatric status 1B
                  19                Nation                 Any PELD
                  20                Nation                 Any MELD and 12 to 17 years old
                  21                Nation                 Any MELD and at least 18 years old
                  22                OPO’s region           Any PELD, and compatible blood type
                                                           MELD at least 15, 12 to 17 years old, and
                  23                OPO’s DSA
                                                           Compatible blood type
                                                           MELD at least 15, at least 18 years old, and
                  24                OPO’s DSA
                                                           compatible blood type
                                                           MELD at least 15, 12 to 17 years old, and
                  25                OPO’s region
                                                           compatible blood type
                                                           MELD at least 15, at least 18 years old, and
                  26                OPO’s region
                                                           compatible blood type
                                                           MELD less than 15, 12 to 17 years old, and
                  27                OPO’s DSA
                                                           compatible blood type




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          Classification          Candidates that   And are:
                               are within the:
                                                    MELD less than 15, at least 18 years old,
                    28             OPO’s DSA
                                                    and compatible blood type
                                                    MELD less than 15, 12 to 17 years old, and
                    29             OPO’s region
                                                    compatible blood type
                                                    MELD less than 15, at least 18 years old,
                    30             OPO’s region
                                                    and compatible blood type
                    31             Nation           0 to 11 years old and compatible blood type
                    32             Nation           12 to 17 years old and compatible blood type
                                                    Any MELD, at least 18 years old, and
                    33             Nation
                                                    compatible blood type
                                                    Adult or pediatric status 1A and in need of
                    34             OPO’s DSA
                                                    other method of hepatic support
                                                    Pediatric status 1B and in need of other
                    35             OPO’s DSA
                                                    method of hepatic support
                                                    Any MELD/PELD and in need of other
                    36             OPO’s DSA
                                                    method of hepatic support
                                                    Adult or pediatric status 1A and in need of
                    37             OPO’s region
                                                    other method of hepatic support
                                                    Pediatric status 1B and in need of other
                    38             OPO’s region
                                                    method of hepatic support
                                                    Any MELD/PELD and in need of other
                    39             OPO’s region
                                                    method of hepatic support
                                                    Adult or pediatric status 1A and in need of
                    40             Nation
                                                    other method of hepatic support
                                                    Pediatric status 1B and in need of other
                    41             Nation
                                                    method of hepatic support
                                                    Any MELD/PELD and in need of other
                    42             Nation
                                                    method of hepatic support
                                                    Any MELD/PELD in need of other method of
                    43             OPO’s DSA
                                                    hepatic support, and compatible blood type
                                                    Any MELD/PELD in need of other method of
                    44             OPO’s region
                                                    hepatic support, and compatible blood type
                                                    Any MELD/PELD in need of other method of
                    45             Nation
                                                    hepatic support, and compatible blood type


          Classification Candidates that are        And are:
                         within the OPO’s:
                1          Region or Circle         Pediatric status 1A
                2          Region or Circle         Adult status 1A
                3          Region or Circle         Pediatric status 1B
                4          Region or Circle         Any PELD
                5          Region or Circle         MELD of at least 15 and 12 to 17 years old




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          Classification Candidates that are   And are:
                         within the OPO’s:
                                               MELD of at least 15 and at least 18 years
                6         Region or Circle
                                               old
                7         Region or Circle     MELD less than 15 and 12 to 17 years old
                8         Region or Circle     MELD less than 15 and at least 18 years old
                9         Nation               Pediatric status 1A
               10         Nation               Adult status 1A
               11         Nation               Pediatric status 1B
               12         Nation               Any PELD
               13         Nation               Any MELD and 12 to 17 years old
               14         Nation               Any MELD and at least 18 years old
               15         Region or Circle     Any PELD and blood type compatible
                                               MELD at least 15, 12 to 17 years old, and
               16         Region or Circle
                                               blood type compatible
                                               MELD at least 15, at least 18 years old, and
               17         Region or Circle
                                               blood type compatible
                                               MELD less than 15, 12 to 17 years old, and
               18         Region or Circle
                                               blood type compatible
                                               MELD less than 15, at least 18 years old,
               19         Region or Circle
                                               and blood type compatible
               20         Nation               Any PELD and blood type compatible
                                               Any MELD, 12 to 17 years old, and blood
               21         Nation
                                               type compatible
                                               Any MELD, at least 18 years old, and blood
               22         Nation
                                               type compatible
                                               Adult or pediatric status 1A, and in need of
               23         Region or Circle
                                               other method of hepatic support
                                               Pediatric status 1B and in need of other
               24         Region or Circle
                                               method of hepatic support
                                               Any MELD or PELD, and in need of other
               25         Region or Circle
                                               method of hepatic support
                                               Adult or pediatric status 1A, and in need of
               26         Nation
                                               other method of hepatic support
                                               Pediatric status 1B and in need of other
               27         Nation
                                               method of hepatic support
                                               Any MELD or PELD, and in need of other
               28         Nation
                                               method of hepatic support
                                               Any MELD or PELD, in need of other
               29         Region or Circle     method of hepatic support, and blood type
                                               compatible
                                               Any MELD or PELD, in need of other
               30         Nation               method of hepatic support, and blood type
                                               compatible




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          9.8.GH       Allocation of Livers from Non-DCD Deceased Donors Less than
                       11 Years Old
          Livers from non-DCD donors less than 11 years old are allocated to candidates according to
          Table 9-56 below.

            Table 9-56: Allocation of Livers from Non-DCD Deceased Donors less than 11 Years Old
           Classification Candidates that are           And are…
                          within the…
                   1         OPO’s region               Pediatric status 1A
                   2         Nation                     Pediatric status 1A (0-11)
                   3         OPO’s DSA                  Adult status 1A
                   4         OPO’s Region               Adult status 1A
                   5         OPO’s Region               Pediatric status 1B
                   6         OPO’s Region               Any PELD
                   7         OPO’s DSA                  MELD of at least 15 and 12 to 17 years old
                   8         OPO’s DSA                  MELD of at least 15 and at least 18 years old
                                                        MELD of at least 15 and at least 12 to 17 years
                   9         OPO’s Region
                                                        old
                 10          OPO’s Region               MELD of at least 15 and at least 18 years old
                 11          OPO’s DSA                  MELD less than 15 and 12 to 17 years old
                 12          OPO’s DSA                  MELD less than 15 and at least 18 years old
                 13          OPO’s Region               MELD less than 15 and 12 to 17 years old
                 14          OPO’s Region               MELD less than 15 and at least 18 years old
                 15          Nation                     Status 1A and 12 to 17 years old
                 16          Nation                     Status 1A and at least 18 years old
                 17          Nation                     Status 1B and 0 to 17 years old
                 18          Nation                     Any PELD
                 19          Nation                     Any MELD and 12 to 17 years old
                 20          Nation                     Any MELD and at least 18 years old
                 21          OPO’s Region               Any PELD and compatible blood type
                                                        MELD of at least 15, 12 to 17 years old, and
                 22          OPO’s DSA
                                                        compatible blood type
                                                        MELD of at least 15, at least 18 years old, and
                 23          OPO’s DSA
                                                        compatible blood type
                                                        MELD of at least 15, 12 to 17 years old, and
                 24          OPO’s Region
                                                        compatible blood type
                                                        MELD of at least 15, at least 18 years old, and
                 25          OPO’s Region
                                                        compatible blood type
                                                        MELD less than 15, 12 to 17 years old, and
                 26          OPO’s DSA
                                                        compatible blood type
                                                        MELD less than 15, at least 18 years old, and
                 27          OPO’s DSA
                                                        compatible blood type




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          Classification Candidates that are     And are…
                         within the…
                                                 MELD less than 15, 12 to 17 years old, and
               28          Region
                                                 compatible blood type
                                                 MELD less than 15, at least 18 years old, and
               29          Region
                                                 compatible blood type
               30          Nation                Any PELD and compatible blood type
                                                 Any MELD, 12 to 17 years old, and compatible
               31          Nation
                                                 blood type
                                                 Any MELD, at least 18 years old, and
               32          Nation
                                                 compatible blood type
                                                 Adult or pediatric status 1A and in need of other
               33          OPO’s DSA
                                                 method of hepatic support
                                                 Pediatric status 1B and in need of other method
               34          OPO’s DSA
                                                 of hepatic support
                                                 Any MELD/PELD and in need of other method
               35          OPO’s DSA
                                                 of hepatic support
                                                 Adult or pediatric status 1A and in need of other
               36          OPO’s region
                                                 method of hepatic support
                                                 Pediatric status 1B and in need of other method
               37          OPO’s region
                                                 of hepatic support
                                                 Any MELD/PELD, any age, and in need of other
               38          OPO’s region
                                                 method of hepatic support
                                                 Adult or pediatric status 1A and in need of other
               39          Nation
                                                 method of hepatic support
                                                 Pediatric status 1B and in need of other method
               40          Nation
                                                 of hepatic support
                                                 Any MELD/PELD, any age, and in need of other
               41          Nation
                                                 method of hepatic support
                                                 Any MELD/PELD, any age, in need of other
               42          OPO’s DSA             method of hepatic support, and compatible
                                                 blood type
                                                 Any MELD/PELD, any age, in need of other
               43          OPO’s region          method of hepatic support, and compatible
                                                 blood type
                                                 Any MELD/PELD, any age, in need of other
               44          Nation                method of hepatic support, and compatible
                                                 blood type


          Classification   Candidates that are   And are…
                           within the OPO’s:
                1          Region or Circle      Pediatric status 1A
                2          Nation                Pediatric status 1A and 0 to 11 years old
                3          Region or Circle      Adult status 1A
                4          Region or Circle      Pediatric status 1B
                5          Region or Circle      Any PELD




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          Classification   Candidates that are   And are…
                           within the OPO’s:
                6          Region or Circle      MELD of at least 15 and 12 to 17 years old
                7          Region or Circle      MELD of at least 15 and at least 18 years old
                8          Region or Circle      MELD less than 15 and 12 to 17 years old
                9          Region or Circle      MELD less than 15 and at least 18 years old
                10         Nation                Pediatric status 1A and 12 to 17 years old
                11         Nation                Adult status 1A
                12         Nation                Pediatric status 1B and 0 to 17 years old
                13         Nation                Any PELD
                14         Nation                Any MELD and 12 to 17 years old
                15         Nation                Any MELD and at least 18 years old
                16         Region or Circle      Any PELD and compatible blood type
                                                 MELD of at least 15, 12 to 17 years old and
                17         Region or Circle
                                                 blood type compatible
                                                 MELD of at least 15, at least 18 years old and
                18         Region or Circle
                                                 blood type compatible
                                                 MELD less than 15, 12 to 17 years old and
                19         Region or Circle
                                                 blood type compatible
                                                 MELD less than 15, at least 18 years old, and
                20         Region or Circle
                                                 blood type compatible
                21         Nation                Any PELD and blood type compatible
                                                 Any MELD, 12 to 17 years old, and blood type
                22         Nation
                                                 compatible
                                                 Any MELD, at least 18 years old, and blood type
                23         Nation
                                                 compatible
                                                 Adult or pediatric status 1A, and in need of other
                24         Region or Circle
                                                 method of hepatic support
                                                 Pediatric status 1B and in need of other method
                25         Region or Circle
                                                 of hepatic support
                                                 Any MELD or PELD, and in need of other
                26         Region or Circle
                                                 method of hepatic support
                                                 Adult or pediatric status 1A, and in need of other
                27         Nation
                                                 method of hepatic support
                                                 Pediatric status 1B and in need of other method
                28         Nation
                                                 of hepatic support
                                                 Any MELD or PELD, and in need of other
                29         Nation
                                                 method of hepatic support
                                                 Any MELD or PELD, and in need of other
                30         Region or Circle      method of hepatic support, and blood type
                                                 compatible
                                                 Any MELD or PELD, and in need of other
                31         Nation                method of hepatic support, and blood type
                                                 compatible




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          9.8.I         Allocation of Livers and Liver-Intestines from DCD Donors or
                        Donors at Least 70 Years Old
          Livers and liver-intestines from DCD donors or donors at least 70 years old are allocated to
          candidates according to Table 9-7 below.

          Table 9-7: Allocation of Livers and liver-intestines from DCD Donors or Donors at Least 70 Years Old
           Classification         Candidates that are            And are:
                                  within the OPO’s:
                    1             Region or Circle               Adult or Pediatric status 1A
                    2             Region or Circle               Pediatric status 1B
                    3             DSA                            MELD or PELD of at least 15
                    4             Region or Circle               MELD or PELD of at least 15
                    5             Nation                         Adult or Pediatric status 1A
                    6             Nation                         Pediatric status 1B
                    7             Nation                         MELD or PELD of at least 15
                    8             DSA                            MELD or PELD less than 15
                    9             Region or Circle               MELD or PELD less than 15
                    10            Nation                         MELD or PELD less than 15
                                                                 MELD or PELD of at least 15, and blood
                    11            DSA
                                                                 type compatible
                                                                 MELD or PELD of at least 15, and blood
                    12            Region or Circle
                                                                 type compatible
                                                                 MELD or PELD of at least 15, and blood
                    13            Nation
                                                                 type compatible
                                                                 MELD or PELD less than 15, and blood
                    14            DSA
                                                                 type compatible
                                                                 MELD or PELD less than 15, and blood
                    15            Region or Circle
                                                                 type compatible
                                                                 MELD or PELD less than 15, and blood
                    16            Nation
                                                                 type compatible
                                                                 Adult or pediatric status 1A, and in need
                    17            DSA
                                                                 of other method of hepatic support
                                                                 Pediatric status 1B and in need of other
                    18            DSA
                                                                 method of hepatic support
                                                                 Any MELD or PELD, and in need of other
                    19            DSA
                                                                 method of hepatic support
                                                                 Adult or pediatric status 1A, and in need
                    20            Region or Circle
                                                                 of other method of hepatic support
                                                                 Pediatric status 1B and in need of other
                    21            Region or Circle
                                                                 method of hepatic support
                                                                 Any MELD or PELD, and in need of other
                    22            Region or Circle
                                                                 method of hepatic support




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           Classification        Candidates that are            And are:
                                 within the OPO’s:
                                                               Adult or pediatric status 1A, and in need
                   23            Nation
                                                               of other method of hepatic support
                                                               Pediatric status 1B and in need of other
                   24            Nation
                                                               method of hepatic support
                                                               Any MELD or PELD, and in need of other
                   25            Nation
                                                               method of hepatic support
                                                               Any MELD or PELD, and in need of other
                   26            DSA                           method of hepatic support, and blood type
                                                               compatible
                                                               Any MELD or PELD, and in need of other
                   27            Region or Circle              method of hepatic support, and blood type
                                                               compatible
                                                               Any MELD or PELD, and in need of other
                   28            Nation                        method of hepatic support, and blood type
                                                               compatible


          9.8.HJ        Allocation of Liver-Intestines from Non-DCD Deceased Donors at
                        Least 18 Years Old and Less than 70 years old
          Livers and intestines from non-DCD deceased donors at least 18 years old and less than 70
          years old are allocated to candidates according to Table 9-68 below:
            Table 9-68: Allocation of Liver-Intestines from Non-DCD Deceased Donors at Least 18 Years Old
            Classification Candidates that are           And are:
                           within the:
                                                         Liver or liver-intestine, adult or pediatric status
                   1          OPO’s region
                                                         1A
                   2          OPO’s region               Liver or liver-intestine, pediatric status 1B
                   3          OPO’s DSA                  Liver or liver-intestine, MELD/PELD of 40
                   4          OPO’s region               Liver or liver-intestine, MELD/PELD of 40
                   5          OPO’s DSA                  Liver or liver-intestine, MELD/PELD of 39
                   6          OPO’s region               Liver or liver-intestine, MELD/PELD of 39
                   7          OPO’s DSA                  Liver or liver-intestine, MELD/PELD of 38
                   8          OPO’s region               Liver or liver-intestine, MELD/PELD of 38
                   9          OPO’s DSA                  Liver or liver-intestine, MELD/PELD of 37
                   10         OPO’s region               Liver or liver-intestine, MELD/PELD of 37
                   11         OPO’s DSA                  Liver or liver-intestine, MELD/PELD of 36
                   12         OPO’s region               Liver or liver-intestine, MELD/PELD of 36
                   13         OPO’s DSA                  Liver or liver-intestine, MELD/PELD of 35
                   14         OPO’s region               Liver or liver-intestine, MELD/PELD of 35
                                                         Liver or liver-intestine, MELD/PELD of at least
                   15         OPO’s DSA
                                                         29
                   16         Nation                     Liver or liver-intestine, LI/IN status 1A




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          Classification Candidates that are   And are:
                         within the:
                17        Nation               Liver or liver-intestine, LI/IN status 1B
                                               Liver or liver-intestine, LI/IN MELD/PELD
                18        Nation
                                               (highest to lowest)
                                               Liver or liver-intestine, MELD/PELD of at least
                19        OPO’s DSA
                                               15
                20        OPO’s region         Liver or liver-intestine, MELD/PELD less than 15
                                               Liver or liver-intestine, adult or pediatric status
                21        Nation
                                               1A
                22        Nation               Liver or liver-intestine, pediatric status 1B
                                               Liver or liver-intestine, MELD/PELD of at least
                23        Nation
                                               15
                24        OPO’s DSA            Liver or liver-intestine, MELD/PELD less than 15
                25        OPO’s region         Liver or liver-intestine, MELD/PELD less than 15
                26        Nation               Liver or liver-intestine, MELD/PELD less than 15
                27        OPO’s DSA            Liver or liver-intestine, MELD/PELD at least 40
                                               and compatible blood type
                28        OPO’s region         Liver or liver-intestine, MELD/PELD at least 40
                                               and compatible blood type
                29        OPO’s DSA            Liver or liver-intestine, MELD/PELD of 39 and
                                               compatible blood type
                30        OPO’s region         Liver or liver-intestine, MELD/PELD of 39 and
                                               compatible blood type
                31        OPO’s DSA            Liver or liver-intestine, MELD/PELD of 38 and
                                               compatible blood type
                32        OPO’s region         Liver or liver-intestine, MELD/PELD of 38 and
                                               compatible blood type
                33        OPO’s DSA            Liver or liver-intestine, MELD/PELD of 37 and
                                               compatible blood type
                34        OPO’s region         Liver or liver-intestine, MELD/PELD of 37 and
                                               compatible blood type
                35        OPO’s DSA            Liver or liver-intestine, MELD/PELD of 36 and
                                               compatible blood type
                36        OPO’s region         Liver or liver-intestine, MELD/PELD of 36 and
                                               compatible blood type
                37        OPO’s DSA            Liver or liver-intestine, MELD/PELD of 35 and
                                               compatible blood type
                38        OPO’s region         Liver or liver-intestine, MELD/PELD of 35 and
                                               compatible blood type
                39        OPO’s DSA            Liver or liver-intestine, MELD/PELD of at least
                                               15 and compatible blood type
                40        OPO’s region         Liver or liver-intestine, MELD/PELD of at least
                                               15 and compatible blood type




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          Classification Candidates that are     And are:
                         within the:
                41         Nation                Liver or liver-intestine, MELD/PELD of at least
                                                 15 and compatible blood type
                42         OPO’s DSA             Liver or liver-intestine, MELD/PELD less than 15
                                                 and compatible blood type
                43         OPO’s region          Liver or liver-intestine, MELD/PELD less than 15
                                                 and compatible blood type
                44         Nation                Liver or liver-intestine, MELD/PELD less than 15
                                                 and compatible blood type
                45         OPO’s DSA             Liver or liver-intestine, adult or pediatric status
                                                 1A and in need of other method of hepatic
                                                 support
                46         OPO’s DSA             Liver or liver-intestine, pediatric status 1B and in
                                                 need of other method of hepatic support
                47         OPO’s DSA             Liver or liver-intestine, any MELD/PELD and in
                                                 need of other method of hepatic support
                48         OPO’s region          Liver or liver-intestine, adult or pediatric status
                                                 1A and in need of other method of hepatic
                                                 support
                49         OPO’s region          Liver or liver-intestine, pediatric status 1B and in
                                                 need of other method of hepatic support
                50         OPO’s region          Liver or liver-intestine, any MELD/PELD and in
                                                 need of other method of hepatic support
                51         Nation                Liver or liver-intestine, adult or pediatric status
                                                 1A and in need of other method of hepatic
                                                 support
                52         Nation                Liver or liver-intestine, pediatric status 1B and in
                                                 need of other method of hepatic support
                53         Nation                Liver or liver-intestine, any MELD/PELD and in
                                                 need of other method of hepatic support
                54         OPO’s DSA             Liver or liver-intestine, any MELD/PELD in need
                                                 of other method of hepatic support, and a blood
                                                 type compatible with the donor
                55         OPO’s region          Liver or liver-intestine, any MELD/PELD in need
                                                 of other method of hepatic support, and blood
                                                 type compatible with the donor
                56         Nation                Liver or liver-intestine, any MELD/PELD in need
                                                 of other method of hepatic support, and blood
                                                 type compatible with the donor


          Classification   Candidates that are   And are:
                           within the OPO’s:
                                                 Liver or liver-intestine and adult or pediatric
                 1         Region or Circle
                                                 status 1A
                 2         Region or Circle      Liver or liver-intestine and pediatric status 1B




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          Classification   Candidates that are   And are:
                           within the OPO’s:
                 3         Region or Circle      Liver or liver-intestine and any of the following:
                                                   At least 18 years old at time of registration
                                                   and calculated MELD of at least 32 including
                                                   proximity points
                                                   At least 18 years old at time of registration
                                                   and has an approved HAT exception
                                                   Less than 18 years old at time of registration
                                                   and allocation MELD or PELD of at least 32
                                                   including proximity points

                 4         Nation                Liver-intestine and adult or pediatric status 1A
                 5         Nation                Liver-intestine and pediatric status 1B
                 6         Nation                Liver-intestine and any MELD or PELD
                 7         DSA                   Liver and MELD or PELD of at least 15
                 8         Region or Circle      Liver and MELD or PELD of at least 15
                 9         Nation                Liver and adult or pediatric status 1A
                10         Nation                Liver and pediatric status 1B
                11         Nation                Liver and MELD or PELD of at least 15
                12         DSA                   Liver and MELD or PELD less than 15
                13         Region or Circle      Liver and MELD or PELD less than 15
                14         Nation                Liver and MELD or PELD less than 15
                                                 Liver or liver-intestine, MELD or PELD of at
                15         Region or Circle
                                                 least 32, and blood type compatible
                                                 Liver-intestine, any MELD or PELD, and blood
                16         Nation
                                                 type compatible
                                                 Liver, MELD or PELD of at least 15, and blood
                17         DSA
                                                 type compatible
                                                 Liver, MELD or PELD of at least 15, and blood
                18         Region or Circle
                                                 type compatible
                                                 Liver, MELD or PELD of at least 15, and blood
                19         Nation
                                                 type compatible
                                                 Liver, MELD or PELD less than 15, and blood
                20         DSA
                                                 type compatible
                                                 Liver, MELD or PELD less than 15, and blood
                21         Region or Circle
                                                 type compatible
                                                 Liver, MELD or PELD less than 15, and blood
                22         Nation
                                                 type compatible
                                                 Liver or liver-intestine, adult or pediatric status
                23         DSA                   1A, and in need of other method of hepatic
                                                 support
                                                 Liver or liver-intestine, pediatric status 1B, and
                24         DSA
                                                 in need of other method of hepatic support
                                                 Liver or liver-intestine, any MELD or PELD, and
                25         DSA
                                                 in need of other method of hepatic support




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            Classification      Candidates that are         And are:
                                within the OPO’s:
                                                            Liver or liver-intestine, adult or pediatric status
                   26          Region or Circle             1A, and in need of other method of hepatic
                                                            support
                                                            Liver or liver-intestine, pediatric status 1B, and
                   27          Region or Circle
                                                            in need of other method of hepatic support
                                                            Liver or liver-intestine, any MELD or PELD, and
                   28          Region or Circle
                                                            in need of other method of hepatic support
                                                            Liver or liver-intestine, adult or pediatric status
                   29          Nation                       1A, and in need of other method of hepatic
                                                            support
                                                            Liver or liver-intestine, pediatric status 1B, and
                   30          Nation
                                                            in need of other method of hepatic support
                                                            Liver or liver-intestine, any MELD or PELD, and
                   31          Nation
                                                            in need of other method of hepatic support
                                                            Liver or liver-intestine, any MELD or PELD, in
                   32          DSA                          need of other method of hepatic support, and
                                                            blood type compatible
                                                            Liver or liver-intestine, any MELD or PELD, in
                   33          Region or Circle             need of other method of hepatic support, and
                                                            blood type compatible
                                                            Liver or liver-intestine, any MELD or PELD, in
                   34          Nation                       need of other method of hepatic support, and
                                                            blood type compatible


          9.6.J Allocation of Liver-Intestine from Donors at Least 11 Years of age
          For combined liver-intestine allocation from donors at least 11 years of age, the liver must first be
          offered as follows:

          1. According to Policy 9.6.F: Allocation of Livers from Deceased Donors 11 to 17 Years Old
          2. Sequentially to each potential liver recipient, including all MELD/PELD potential recipients,
             through national Status 1A and 1B offers

          The liver may then be offered to combined liver-intestine potential recipients sequentially
          according to the intestine match run.

          9.8.K Allocation of Liver-Intestines from Non-DCD Donors 11 to 17 Years
                Old
          For combined liver-intestine allocation from non-DCD donors 11 to 17 years old, the liver must
          first be offered as follows:

          1. According to Policy 9.8.G: Allocation of Livers from Non-DCD Deceased Donors 11 to 17
             Years Old
          2. Sequentially to each liver candidate, including all MELD and PELD candidates, through
             national status 1A and 1B offers

          The liver may then be offered to combined liver-intestine potential recipients sequentially
          according to the intestine match run.



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          9.8.IL    Allocation of Liver-Intestines from Non-DCD Donors less than 11
                    Years Old
          Livers and intestines from non-DCD donors less than 11 years old are allocated to candidates
          according to Table 9-79 below.

           Table 9-79: Allocation of Combined Liver-Intestines from Non-DCD Donors less than 11 Years Old
            Classification         Candidates that        And are:
                                   are within the:
                             The following classifications appear for all blood types
                     1             OPO’s region           Liver or liver-intestine, Pediatric Status 1A
                                                          Liver or liver-intestine, Pediatric Status 1A,
                     2             Nation
                                                          and 0 to less than 12 years of age
                                                          Liver-intestine, Pediatric Status 1A, and 12 to
                     3             Nation
                                                          less than 18 years of age
                     4             OPO’s DSA              Liver or liver-intestine, Adult Status 1A
                     5             OPO’s region           Liver or liver-intestine, Adult Status 1A
                     6             OPO’s region           Liver or liver-intestine, Pediatric Status 1B
                                                          Liver or liver-intestine, PELD greater than 20,
                     7             OPO’s region
                                                          and 0 to less than 12 years of age
                     8             Nation                 Liver-intestine, Pediatric Status 1B
                     9             Nation                 Liver-intestine, PELD greater than 20
                     10            OPO’s region           Liver or liver-intestine, PELD of less than 21
                                                          Liver or liver-intestine, MELD of at least 15,
                     11            OPO’s DSA
                                                          and 12 to less than 18 years of age
                                                          Liver or liver-intestine, MELD of at least 15,
                     12            OPO’s DSA
                                                          and at least 18 years of age
                                                          Liver or liver-intestine, MELD of at least 15,
                     13            OPO’s region
                                                          and 12 to less than 18 years of age
                                                          Liver or liver-intestine, MELD of at least 15,
                     14            OPO’s region
                                                          and at least 18 years of age
                                                          Liver or liver-intestine, MELD less than 15,
                     15            OPO’s DSA
                                                          and 12 to less than 18 years of age
                                                          Liver or liver-intestine, MELD less than 15,
                     16            OPO’s DSA
                                                          and at least 18 years of age
                                                          Liver or liver-intestine, MELD less than 15,
                     17            OPO’s region
                                                          and 12 to less than 18 years of age
                                                          Liver or liver-intestine, MELD less than 15,
                     18            OPO’s region
                                                          and at least 18 years of age




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          Classification      Candidates that      And are:
                              are within the:
                                                   Liver, Pediatric Status 1A, and 12 to less than
                  19          Nation
                                                   18 years of age
                  20          Nation               Liver or liver-intestine, Adult Status 1A
                  21          Nation               Liver, Pediatric Status 1B

                  22          Nation               Liver or liver-intestine, with any PELD

                                                   Liver or liver-intestine, with any MELD/PELD,
                  23          Nation
                                                   and 12 to less than 18 years of age
                                                   Liver or liver-intestine, with any MELD, and at
                  24          Nation
                                                   least 18 years of age
                The following classifications only appear on O blood type donor matches
                                                   Liver or liver-intestine, with any PELD, and
                  25          OPO’s region
                                                   compatible blood type match with the donor
                                                   Liver or liver-intestine, MELD of at least 15,
                  26          OPO’s DSA            12 to less than 18 years of age, and
                                                   compatible blood type match with the donor
                                                   Liver or liver-intestine, MELD of at least 15, at
                  27          OPO’s DSA            least 18 years of age, and compatible blood
                                                   type match with the donor
                                                   Liver or liver-intestine, MELD of at least 15,
                  28          OPO’s region         12 to less than 18 years of age, and
                                                   compatible blood type match with the donor
                                                   Liver or liver-intestine, MELD of at least 15, at
                  29          OPO’s region         least 18 years of age, and compatible blood
                                                   type match with the donor
                                                   Liver or liver-intestine, MELD less than 15, 12
                  30          OPO’s DSA            to less than 18 years of age, and compatible
                                                   blood type match with the donor
                                                   Liver or liver-intestine, MELD less than 15, at
                  31          OPO’s DSA            least 18 years of age, and compatible blood
                                                   type match with the donor
                                                   Liver or liver-intestine, MELD less than 15, 12
                  32          OPO’s region         to less than 18 years of age, and compatible
                                                   blood type match with the donor
                                                   Liver or liver-intestine, MELD less than 15, at
                  33          OPO’s region         least 18 years of age, and compatible blood
                                                   type match with the donor
                                                   Liver or liver-intestine, with any PELD, and
                  34          Nation
                                                   compatible blood type match with the donor




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          Classification        Candidates that        And are:
                                are within the:
                                                       Liver or liver-intestine, with any MELD, 12 to
                  35            Nation                 less than 18 years of age, and compatible
                                                       blood type match with the donor
                                                       Liver or liver-intestine, with any MELD, at
                  36            Nation                 least 18 years of age, and compatible blood
                                                       type match with the donor
                           The following classifications appear for all blood types
                                                       Liver or liver-intestine, Adult or Pediatric
                  37            OPO’s DSA              Status 1A, and in need of other method of
                                                       hepatic support
                                                       Liver or liver-intestine, Pediatric Status 1B,
                  38            OPO’s DSA              and in need of other method of hepatic
                                                       support
                                                       Liver or liver-intestine, with any MELD/PELD,
                  39            OPO’s DSA              and in need of other method of hepatic
                                                       support
                                                       Liver or liver-intestine, Adult or Pediatric
                  40            OPO’s region           Status 1A, and in need of other method of
                                                       hepatic support
                                                       Liver or liver-intestine, Pediatric Status 1B,
                  41            OPO’s region           and in need of other method of hepatic
                                                       support
                                                       Liver or liver-intestine, with any MELD/PELD,
                  42            OPO’s region           and in need of other method of hepatic
                                                       support
                                                       Liver or liver-intestine, Adult or Pediatric
                  43            Nation                 Status 1A, and in need of other method of
                                                       hepatic support
                                                       Liver or liver-intestine, Pediatric Status 1B,
                  44            Nation                 and in need of other method of hepatic
                                                       support
                                                       Liver or liver-intestine, with any MELD/PELD,
                  45            Nation                 and in need of other method of hepatic
                                                       support
                The following classifications only appear on O blood type donor matches
                                                       Liver or liver-intestine, with any MELD/PELD,
                                                       in need of other method of hepatic support,
                  46            OPO’s DSA
                                                       and compatible blood type match with the
                                                       donor
                                                       Liver or liver-intestine, with any MELD/PELD,
                                                       in need of other method of hepatic support,
                  47            OPO’s region
                                                       and compatible blood type match with the
                                                       donor




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          Classification      Candidates that      And are:
                              are within the:
                                                   Liver or liver-intestine, with any MELD/PELD,
                                                   in need of other method of hepatic support,
                     48       Nation
                                                   and compatible blood type match with the
                                                   donor


          Classification   Candidates that are   And are:
                           within the OPO’s:
                 1         Region or Circle      Liver or liver-intestine and pediatric status 1A
                                                 Liver or liver-intestine, pediatric status 1A, and 0
                 2         Nation
                                                 to 11 years old
                                                 Liver-intestine, pediatric status 1A, and 12 to 17
                 3         Nation
                                                 years old
                 4         Region or Circle      Liver or liver-intestine and adult status 1A
                 5         Region or Circle      Liver or liver-intestine and pediatric status 1B
                                                 Liver or liver-intestine and PELD greater than
                 6         Region or Circle
                                                 20
                 7         Nation                Liver-intestine and pediatric status 1B
                 8         Nation                Liver-intestine and PELD greater than 20
                                                 Liver or liver-intestine and PELD less than or
                 9         Region or Circle
                                                 equal to 20
                                                 Liver or liver-intestine, MELD of at least 15, and
                10         Region or Circle
                                                 12 to 17 years old
                                                 Liver or liver-intestine, MELD of at least 15, and
                11         Region or Circle
                                                 at least 18 years old
                                                 Liver or liver-intestine, MELD less than 15, and
                12         Region or Circle
                                                 12 to 17 years old
                                                 Liver or liver-intestine, MELD less than 15, and
                13         Region or Circle
                                                 at least 18 years old
                                                 Liver, pediatric status 1A, and 12 to 17 years
                14         Nation
                                                 old
                15         Nation                Liver or liver-intestine and adult status 1A
                16         Nation                Liver and pediatric status 1B
                17         Nation                Liver or liver-intestine and any PELD
                                                 Liver or liver-intestine, any MELD, and 12 to 17
                18         Nation
                                                 years old
                                                 Liver or liver-intestine, any MELD, and at least
                19         Nation
                                                 18 years old




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          Classification   Candidates that are   And are:
                           within the OPO’s:
                                                 Liver or liver-intestine, PELD greater than 20,
                20         Region or Circle
                                                 and blood type compatible
                                                 Liver-intestine, PELD greater than 20, and
                21         Nation
                                                 blood type compatible
                                                 Liver or liver-intestine, PELD less than or equal
                22         Region or Circle
                                                 to 20, and blood type compatible
                                                 Liver or liver-intestine, MELD of at least 15, 12
                23         Region or Circle
                                                 to 17 years old, and blood type compatible
                                                 Liver or liver-intestine, MELD of at least 15, at
                24         Region or Circle
                                                 least 18 years old, and blood type compatible
                                                 Liver or liver-intestine, MELD less than 15, 12 to
                25         Region or Circle
                                                 17 years old, and blood type compatible
                                                 Liver or liver-intestine, MELD less than 15, at
                26         Region or Circle
                                                 least 18 years old, and blood type compatible
                                                 Liver or liver-intestine, any PELD, and blood
                27         Nation
                                                 type compatible
                                                 Liver or liver-intestine, any MELD, 12 to 17
                28         Nation
                                                 years old, and blood type compatible
                                                 Liver or liver-intestine, any MELD, at least 18
                29         Nation
                                                 years old, and blood type compatible
                                                 Liver or liver-intestine, adult or pediatric status
                30         Region or Circle      1A, and in need of other method of hepatic
                                                 support
                                                 Liver or liver-intestine, pediatric status 1B, and
                31         Region or Circle
                                                 in need of other method of hepatic support
                                                 Liver or liver-intestine, any MELD or PELD, and
                32         Region or Circle
                                                 in need of other method of hepatic support
                                                 Liver or liver-intestine, adult or pediatric status
                33         Nation                1A, and in need of other method of hepatic
                                                 support
                                                 Liver or liver-intestine, pediatric status 1B, and
                34         Nation
                                                 in need of other method of hepatic support
                                                 Liver or liver-intestine, any MELD or PELD, and
                35         Nation
                                                 in need of other method of hepatic support
                                                 Liver or liver-intestine, any MELD or PELD, in
                36         Region or Circle      need of other method of hepatic support, and
                                                 blood type compatible
                                                 Liver or liver-intestine, any MELD or PELD, in
                37         Nation                need of other method of hepatic support, and
                                                 blood type compatible




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Blood type matches for combined liver-intestine allocation are determined according to Policy 9.6.C:
Allocation of Livers by Blood Type.

[Cross-references to headings and table captions affected by the re-numbering of this policy will also be
changed as necessary.]

FURTHER RESOLVED, that changes to Policy 9.11 (Variances), as set forth below, are hereby
approved, effective pending implementation and notice to OPTN members.

          9.11.B      Closed Variance for Allocation of Blood Type O Deceased Donor
                      Livers in Hawaii
          This is a closed variance that applies only to OPOs and transplant programs in Hawaii due to its
          geographical location. This variance permits the allocation of blood type O deceased donor livers
          simultaneously to liver candidates within the DSA with compatible blood types in addition to
          identical blood types.

          9.11.C      Closed Variance for Allocation of Livers Procured in Region 9
          This is a closed variance that applies to livers procured in Region 9. This variance replaces all
          references to “DSA” with “region” throughout Policy 9.8: Liver Allocation, Classifications, and
          Rankings.

FURTHER RESOLVED, that the new Policy 9.11.B (Closed Variance for Allocation of Blood Type O
Deceased Donor Livers in Hawaii) and 9.11.C (Closed Variance for Allocation of Livers Procured in
Region 9) expires two years following implementation.

FURTHER RESOLVED, that the following variances, as set forth below, are terminated, effective
pending implementation and notice to OPTN members.
Region 1-AAS
Original Implementation- 8/1/1990
Last Modification- 7/9/2008
Region 1 uses the standard distribution and allocation system with the following exception. The region
shares for Status 1 patients on a common regional list. Adult and pediatric donor livers are offered first to
Status 1 patients within Region 1, i.e. there are no “OPO LI, Status 1A” or “OPO LI, Status 1B”
classifications.
Region 10-AAS
Original Implementation- 1/30/1998
Last Modification- 7/9/2008
Region 10 uses the standard distribution and allocation system for the allocation of livers with the
following differences. The region shares for Status 1 patients on a common regional list. Adult and
pediatric donor livers are offered first to Status 1 patients within Region 10, i.e. there are no “OPO LI,
Status 1A” or “OPO LI, Status 1B” classifications.
                                                         #




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